Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re Lechaim Cab Corp Case No. 17-46647
Debtor Reporting Period: 2/1/2020-2/29/2020

 

 

 

SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
attached for each account. [See MOR-1 (CON’T)]

BANK ACCOUNTS

BEGINNING OF MONTH 57 57

SALES 1,600.00 1,600.00
CCOUNTS RECEIVABLE -
REPETITION
CCOUNTS RECEIVABLE -
ETITION
ANS AND ADVANCES
SALE OF ASSETS
OTHER ACH
SFERS DIP A
TOTAL RECEIPTS 1,600.00 1,600.00

PAYROLL
AYROLL TAXES
USE, & OTHER TAXES 1,461.00
RY PURCHASES
SECURED/ RENTAL/ LEASES
SURANCE
MINISTRATIVE
SELLING
OTHER (ATTACH
OWNER DRAW *
SFERS DIP A
ROFESSIONAL FEES
.S. TRUSTEE QUARTERLY FEES
COURT COSTS
TAL DISBURSEMENTS

90.00

175.00

FALSHL ALS er] SS] oiclain

CASH FLOW
LESS DISBURSEMENTS) | $ 1,335.00

 

— END OF MONTH $ 3,265.57
* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE

THE FOLLOWING SECTION MUST BE COMPLETED
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)
TOTAL DISBURSEMENTS
LESS: TRANSFERS TO OTHER DEBTOR IN
POSSESSION ACCOUNTS $ -
PLUS: ESTATE DISBURSEMENTS MADE BY
OUTSIDE SOURCES (i.e. from escrow accounts) $ -
TOTAL DISBURSEMENTS FOR CALCULATING U.S.
TRUSTEE QUARTERLY FEES $ 265.00

 

 

 

 

 

 

 

 

FORM MOR-1
2/2008
PAGE 1 OF 10

 
 

Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

 

 

In re Lechaim Cab Corp Case No. 17-46647
Debtor Reporting Period: 2/1/2020-2/29/2020
BANK RECONCILIATIONS

Continuation Sheet for MOR-1
A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.

(Bank account numbers may be redacted to last four numbers.)

 

Operating Payroll Tax Other
#2196 # -NA # -NA # -NA

 

BALANCE PER
BOOKS

  
 

 

 

BANK BALANCE 3,265.57
(+) DEPOSITS IN

TRANSIT (ATTACH
LIST) $ -
(-) OUTSTANDING
CHECKS (ATTACH
LIST): $ -
OTHER (ATTACH
EXPLANATION,

 

 

 

 
  

  
 

 

  

 

 

Pemuane uAU nn | eR
ADJUSTED BANK
BALANCE * $ 3,265.57

 

 

 

 

*"Adjusted Bank Balance" must equal "Balance per Books"

 

OTHER

 

 

 

 

 

FORM MOR-1 (CONT)
2/2008
PAGE 2 OF 10
Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re Lechaim Cab Corp Case No. 17-46647
Debtor Reporting Period: 2/1/2020-2/29/202C

 

STATEMENT OF OPERATIONS (Income Statement)
The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

REVENUES MONTH CUMULATIVE -FILING

Revenues 1,600.00 1 $ 43 00
: Returns and Allowances 0
Revenue 1,600.00 | $ 43 .00

NA

: Purchases NA
: Cost of Labor NA
: Other Costs (attach schedule NA
: In NA
of Goods Sold NA

Profit NA

NA

and Truck NA

Debts NA

NA

Benefits NA

NA

NA

Fees/Bonuses NA
3,125.00

& Profit Plans NA

and Maintenance NA
and Lease 1,660.00
1,600.00

‘axes - P ll

‘axes - Real Estate

axes - Other

ravel and Entertainment

‘attach
otal Before 7,896.00
letion/Amortization
et Profit Before Other Income & 36,004.00

Income (attach schedule

‘attach 35,530.00
et Profit Before 474.00

 

FORM MOR-2
2/2008
PAGE 3 OF 10

 
 

Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re Lechaim Cab Corp Case No. 17-46647
Debtor Reporting Period: 2/1/2020-2/29/202C

fessional Fees
. 8. Trustee Fees

Earned on Accumulated Cash from Chapter 11 (see continuation

from Sale of
nm ‘attach
otal
Taxes
et Profit
*"Insider" is defined in 11 U.S.C. Section 101(31).

 

BREAKDOWN OF “OTHER” CATEGORY

OTHER COSTS
axes - Other - TLC -TIF Fees Unpaid by Previous 1,461.00 1,461.00

 

OTHER OPERATIONAL EXPENSES
ONE

 

OTHER INCOME
INONE

 

 

 

 

OTHER EXPENSES
Payment to Secured Creditor $ - 7$ 35,530.00

 

 

 

 

 

 

 

 

OTHER REORGANIZATION EXPENSES
- New DIP Accounts
fessional Fees - Mediator Fee

 

Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
bankruptcy proceeding, should be reported as a reorganization item.

FORM MOR-2
2/2008
PAGE 4 OF 10
Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

 

 

 

In re Lechaim Cab Corp Case No. 17-46647
Debtor Reporting Period: 2/1/202.0-2/29/2020
BALANCE SHEET

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

nrestricted Cash and 57 6,100.01

Cash and Cash Equivalents (see continuation 0
0

Receivable
Receivable

Retainers
Current Assets (attach
TOTAL CURRENT ASSETS

and
and
Fixtures and Office

ehicles
: Accumulated
TOTAL PROPERTY & EQUIPMENT

due from Insiders*
Assets (attach
TOTAL OTHER ASSETS
TOTAL ASSETS

to FORM MOR.

/ Leases -
Debt / Protection
Fees
Due to Insiders*
Liabilities (attach
TOTAL POST-PETITION LIABILITIES

Secured Debt
Debt
Debt
TOTAL PRE-PETITION LIABILITIES
TOTAL LIABILITIES

Stock
Paid-In
Account
Account
- Pre-Petition
to Owner ity (attach
Contributions (attach
OWNERS’ EQUITY

OTAL LIABILITIES AND OWNERS'

*"Insider" is defined in 11 U.S.C. Section 101(31).

700.00
923,025.00

700.00
923,025.00

0
750,000.00
1,675,655.57

0

1,676,990.57 1,675,655.57

VALUE
CURRENT REPORTING PRIOR REPORTING
MONTH MONTH

1,210,000.00 1,210,000.00

1,210,000.00 | $ 1,210,000.00
1,210,000.00 1,210,000.00

 

3,000.00
923,025.00

0
1 125.01

BOOK VALUE ON
PETITION DATE

1,210,000.00

1,210,000.00
1,210,000.00

FORM MOR-3
2/2008
PAGE 5 OF 10

 
 

Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re Lechaim Cab Corp Case No. 17-46647

 

Debtor Reporting Period: 2/1/2020-2/29/2020

 

Other Current Assets
NYC - 1K66 & 1K67 750,000.00 | $ 750,000.00 750,000.00

   

Other Assets

 

NA

 

 

 

 

 

 

Liabilities

 

Adjustments to Owner’s Equity

 

NA

 

 

 

Post-Petition Contributions
NA

 

 

 

 

 

 

 

Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
Typically, restricted cash is segregated into a separate account, such as an escrow account.

FORM MOR-3
2/2008
PAGE 6 OF 10
Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re Lechaim Cab Corp Case No. 17-46647

 

Debtor Reporting Period: 2/1/2020-2/29/2020

STATUS OF POST-PETITION TAXES

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
amount should be zero.

Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax returns filed during the reporting period.

Total Federal Taxes

ithholdi
Sales

n
ersonal
Total State and Local

otal Taxes

 

SUMMARY OF UNPAID POST-PETITION DEBTS

Attach aged listing of accounts payable.
Number of Days Past Due
Current D 31-60 61-90 Over 91

Payable
Bul
Secured Debt/Adequate
n P

fessional Fees
ts Due to Insiders

Other:
Other:
otal Post n Debts

 

Explain how and when the Debtor intends to pay any past due post-petition debts.

 

 

FORM MOR-4
2/2008
PAGE 7 OF 10

 
Doc 1/s-L Fed Vofly/cO Entered Os/Ly/2zU0 Lolo fico

Case 1-1/-40015-NNl

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g00d/e

 

 

 

 

 

 

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9 0 0 PIO SAep OE - 0

 

 

 

 

 

 

 

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- $ PIO SAB 06 - 19
- $ PIO SBP 09 - TE
- $ pio SACP ( 0¢-0

 

 

 

 

 

 

 

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Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re Lechaim Cab Corp Case No. 17-46647

 

Debtor Reporting Period: 2/1/2020-2/29/2020

 

PAYMENTS TO INSIDERS AND PROFESSIONALS

Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
(e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.

Fred Roth CPA 8 800.00
Fred Roth CPA 2/11/2019 $ 800.00 | $

1,600.00 1,600.00
* INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED

POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
AND ADEQUATE PROTECTION PAYMENTS

 

 

1,600.00

FORM MOR-6
2/2008
PAGE 9 OF 10

 
 

Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

 

 

In re Lechaim Cab Corp Case No. 17-46647
Debtor Reporting Period: 2/1/2020-2/29/2020
DEBTOR QUESTIONNAIRE
Must be completed each month. [f the answer to any of the Yes No

—_

10
11

12

13
14

15
16
17

18

questions is “Yes”, provide a detailed explanation of each item.
Attach additional sheets if necessary.

 

Have any assets been sold or transferred outside the normal course of

 

 

business this reporting period? x
Have any funds been disbursed from any account other than a debtor in

possession account this reporting period? Xx
Is the Debtor delinquent in the timely filing of any post-petition tax

returns? x

 

Are workers compensation, general liability or other necessary

 

 

insurance coverages expired or cancelled, or has the debtor received

notice of expiration or cancellation of such policies? X
Is the Debtor delinquent in paying any insurance premium payment? x
Have any payments been made on pre-petition liabilities this reporting

period? Xx

 

Are any post petition receivables (accounts, notes or loans) due trom
related parties?

 

Are any post petition payroll taxes past due?

 

Are any post petition State or Federal income taxes past due?

 

Are any post petition real estate taxes past due?

 

Are any other post petition taxes past due?

 

Have any pre-petition taxes been paid during this reporting period?

 

Are any amounts owed to post petition creditors delinquent?

 

Are any wage payments past due?

 

Have any post petition loans been been received by the Debtor from any

party?

 

PPS pes pes Poa P Ses <I oe

Is the Debtor delinquent in paying any U.S. Trustee fees?

 

Is the Debtor delinquent with any court ordered payments to attorneys
or other professionals?

ms

 

Have the owners or shareholders recetved any compensation outside of

 

 

 

the normal course of business? x

 

 

FORM MOR-7
2/2008
PAGE 10 OF 10
Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re Merab Cab Corp Case No. 17-46619
Debtor Reporting Period: 2/1/2020-2/29/2020

 

 

 

SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.

The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
attached for each account. [See MOR-1 (CON’T)]

BANK ACCOUNTS

CASH BEGINNING OF MONTH $ 21,467.15 21,467.15

CASH SALES $ 100.00 100.00
CCOUNTS RECEIVABLE -
REPETITION
CCOUNTS RECEIVABLE -
ON
ANS AND ADVANCES
SALE OF ASSETS
OTHER ‘ACH
M DIP A
TOTAL RECEIPTS

PAYROLL
AYROLL TAXES
USE, & OTHER TAXES
RY PURCHASES
SECURED/ RENTAL/ LEASES
SURANCE
MINISTRATIVE
SELLING
OTHER (ATTACH
OWNER DRAW *
TRANSFERS DIP A
ROFESSIONAL FEES
.S. TRUSTEE QUARTERLY FEES
COURT COSTS
AL DISBURSEMENTS

yA

PILALALA LS sles

PFALHLHALS HST seier[ aia

CASH FLOW
LESS DISB

 

CASH — END OF MONTH $ 15
* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE

THE FOLLOWING SECTION MUST BE COMPLETED
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)
TOTAL DISBURSEMENTS
LESS: TRANSFERS TO OTHER DEBTOR IN
POSSESSION ACCOUNTS $ -
PLUS: ESTATE DISBURSEMENTS MADE BY
OUTSIDE SOURCES (i.e. from escrow accounts) $ -
TOTAL DISBURSEMENTS FOR CALCULATING USS.
TRUSTEE QUARTERLY FEES $ 265.00

 

 

 

 

 

 

 

 

FORM MOR-1
2/2008
PAGE 1 OF 10

 
 

Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

 

 

In re Merab Cab Corp Case No. 17-46619
Debtor Reporting Period: 2/1/2020-2/29/2020
BANK RECONCILIATIONS

Continuation Sheet for MOR-1
A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.

(Bank account numbers may be redacted to last four numbers.)

 

 

 

Operating Payroll Tax Other
#2253 #-NA # -NA # -NA

BALANCE PER
BOOKS
a
BANK BALANCE $ 23,302.15
(+) DEPOSITS IN
TRANSIT (ATTACH
JLIST)

 

(-) OUTSTANDING
CHECKS (ATTACH

 

   

 

 

 

LIST) : $ -
OTHER (ATTACH $ -
EXPLANATION,

ADJUSTED BANK

BALANCE * $ 23,302.15

 

 

 

 

*"Adjusted Bank Balance" must equal "Balance per Books"

 

OTHER

 

 

 

 

 

FORM MOR-1 (CONT.)
2/2008
PAGE 2 OF 10
Case 1-1/-40015-NNl

In re Merab Cab Corp
Debtor

Doc 1/s-L Fed Vofly/cO Entered Os/Ly/2zU0 Lolo fico

Case No. 17-46619

Reporting Period: 2/1/2020-2/29/2020

STATEMENT OF OPERATIONS (Income Statement)
The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

REVENUES

Revenues
Returns and Allowances
Revenue

Invento
Purchases
: Cost of Labor
: Other Costs (attach schedule

of Goods Sold
Profit

uto and Truck
Debts

Benefits

Fees/Bonuses

& Profit Plans
and Maintenance
and Lease
Salaries/Commissions/Fees
S
axes - P i
axes - Real Estate
axes - Other
ravel and Entertainment

‘attach
otal Before
n/Amortization
et Profit Before Other Income &

Income (attach schedule

‘attach
et Profit Before

 

MONTH CUMULATIVE -FILING

100.00 1 $ 65,500.00
- 1s -
100.00 | $ 65 .00

3,675.00

1,890.00
1,600.00

265.00

1,835.00

- 37,746.56
1,835.00 20,510.59

FORM MOR-2
2/2008
PAGE 3 OF 10

 
 

Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re Merab Cab Corp Case No. 17-46619
Debtor Reporting Period: 2/1/2020-2/29/2020

 

fessional Fees
. 8. Trustee Fees

Earned on Accumulated Cash from Chapter 11 (see continuation

from Sale of
nh
otal -
Taxes -
Profit 1,835.00
*"Insider" is defined in 11 U.S.C. Section 101(31).

 

BREAKDOWN OF “OTHER” CATEGORY

OTHER COSTS
ONE

 

OTHER OPERATIONAL EXPENSES
ONE

 

OTHER INCOME
NONE

 

 

 

 

OTHER EXPENSES
Payment made to Secured Creditor [S$ - 1$ 37,746.56

 

 

 

 

 

 

 

 

OTHER REORGANIZATION EXPENSES
- New DIP Account
fessional Fees - Mediator Fee

 

Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the

bankruptcy proceeding, should be reported as a reorganization item.

FORM MOR-2
2/2008
PAGE 4 OF 10
Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

 

 

 

In re Merab Cab Corp Case No. 17-46619
Debtor Reporting Period: 2/1/2020-2/29/2020
BALANCE SHEET

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

nrestricted Cash and . 21,467.15 6,100.00
Cash and Cash Equivalents (see continuation

Receivable 3 .00
otes Receivable . 1,138,008.00

Retainers 0 -
Current Assets (attach 0 :
TOTAL CURRENT ASSETS 1,161,610.15 1,159,775.15 1,147,108.00

and
and
Fixtures and Office

ehicles
Accumulated
TOTAL PROPERTY & EQUIPMENT

due from Insiders* 0
Assets (attach 0 0
TOTAL OTHER ASSETS 0 0
TOTAL ASSETS 1,161,610.15 1,159,775.15 1,147,108.00
VALUE AT END OF VALUE ON P.

CURRENT REPORTING PRIOR REPORTING DATE
MONTH MONTH

to FORM MOR-4,

/ Leases -
Secured Debt / Protection
Fees
Due to Insiders*
Liabilities (attach
TOTAL POST-PETITION LIABILITIES

Debt . 1,210,000.00 1,210,000.00
Debt
Debt
TOTAL PRE-PETITION LIABILITIES 1,210,000.00 1 . 1,210,000.00
TOTAL LIABILITIES 1,210,000.00 1 . 1,210,000.00

Stock
Paid-In
ital Account
Account
- Pre-Petition

to Owner ‘attach

Contributions (attach
OWNERS’
‘AL LIABILITIES AND OWNERS' 1,161,610.15 1,159,775.15 1,147,108.00

*"Insider" is defined in 11 U.S.C. Section 101(31).

 

FORM MOR-3
2/2008
PAGE 5 OF 10

 
 

Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re Merab Cab Corp Case No. 17-46619
Debtor Reporting Period: 2/1/2020-2/29/2020

 

BALANCE SHEET - continuation section

i

   
 
 
 

   

RUE fa
Other Current Assets
NYC Medallions - 7J22 & 7325 750,000.00 | $ 750,000.00 | $ 750,000.00

Other Assets

 

NA

 

 

 

 

 

 

 

Adjustments to Owner’s Equity

 

NA

 

 

 

Post-Petition Contributions
NA

 

 

 

 

 

 

 

Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
Typically, restricted cash is segregated into a separate account, such as an escrow account.

FORM MOR-3
2/2008
PAGE 6 OF 10
Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re Merab Cab Corp Case No. 17-46619
Debtor Reporting Period: 2/1/2020-2/29/2020

 

STATUS OF POST-PETITION TAXES

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
amount should be zero.

Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax returns filed during the reporting period.

I

CA-
CA- lo
n lo

Other:
Total Federal Taxes

Withholdi
Sales

Pro
ersonal
Other:
Total State and Local

otal Taxes

 

SUMMARY OF UNPAID POST-PETITION DEBTS

Attach aged listing of accounts payable.
Number of Days Past Due

Current 31-60 61-90 Over 91
ccounts P le
le
le
Buil

Secured Debt/Adequate
P
fessional Fees
unts Due to Insiders
Other:
Other:
otal Post. n Debts

 

Explain how and when the Debtor intends to pay any past due post-petition debts.

 

FORM MOR-4
2/2008
PAGE 7 OF 10

 
Doc 1/s-L Fed Vofly/cO Entered Os/Ly/2zU0 Lolo fico

Case 1-1/-40015-NNl

Ol dO 8 ADVd
g00d/Z
S-YOW WHOS

 

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PIO sAep +16

 

PIO skep 06 - 19

 

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Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

Case No. 17-46619

In re Merab Cab Corp
Reporting Period: 2/1/2020-2/29/2020

Debtor

PAYMENTS TO INSIDERS AND PROFESSIONALS

Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals, For payments to insiders, identify the type of compensation paid
(e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.

Fred Roth CPA 18
Fred Roth CPA 2/11/2019

1,600.00 1,600.00 | $ 1,600.00

* INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED

 

POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
AND ADEQUATE PROTECTION PAYMENTS

 

FORM MOR-6
2/2008
PAGE 9 OF 10

 
 

In re

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Case 1-1/-40015-NAl Doc lfo-L Filed Os/iy/z0 Entered Vs/lyiz20 Lolo fics

Merab Cab Corp

 

Debtor

Case No. 17-46619
Reporting Period: 2/1/2020-2/29/2020

DEBTOR QUESTIONNAIRE

 

Must be completed each month. Ii the answer to any of the
questions is “Yes”, provide a detailed explanation of each item.
Attach additional sheets if necessary.

Yes

No

 

Have any assets been sold or transferred outside the normal course of
business this reporting period?

 

Have any funds been disbursed from any account other than a debtor in
possession account this reporting period?

 

Is the Debtor delinquent tn the timely filing of any post-petition tax
returns?

 

Are workers compensation, general liability or other necessary
insurance coverages expired or cancelled, or has the debtor received
notice of expiration or cancellation of such policies?

 

Is the Debtor delinquent in paying any insurance premium payment?

 

Have any payments been made on pre-petition liabilities this reporting
period?

ms

 

Are any post petition receivables (accounts, notes or loans) due from
related parties?

 

Are any post petition payroll taxes past due?

 

Are any post petition State or Federal income taxes past due?

 

Are any post petition real estate taxes past due?

 

Are any other post petition taxes past due?

 

Have any pre-petition taxes been paid during this reporting period?

 

Are any amounts owed to post petition creditors delinquent?

 

Are any wage payments past due?

 

Have any post petition loans been been recetved by the Debtor from any

party?

 

Is the Debtor delinquent in paying any U.S. Trustee fees?

of >< [Pode [oa[><Po<P><] 0

 

Is the Debtor delinquent with any court ordered payments to attorneys or'
other professionals?

~*~

 

 

Have the owners or shareholders received any compensation outside of

 

the normal course of business?

 

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FORM MOR-7
2/2008
PAGE 10 OF 10
1re

Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

NY Canteen Taxi Corp Case No. 17-46644

 

Debtor Reporting Period: — 2/1/2020-2/29/2020

SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
ACTUAL?” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
attached for each account. [See MOR-1 (CON’T)]

BANK ACCOUNTS

CASH BEGINNING OF MONTH 14,884.17

CASH SALES 000.00
ACCOUNTS RECEIVABLE -

ACCOUNTS RECEIVABLE -

LOANS AND ADVANCES
SALE OF ASSETS

OTHER (ATTACH
TRANSFERS (FROM DIP A

NET PAYROLL
PAYROLL TAXES
& OTHER TAXES

INVENTORY PURCHASES
SECURED/ RENTAL/ LEASES
INSURANCE
ADMINISTRATIVE
SELLING
O
OWNER DRAW *
TRANSFERS DIP A
PROFESSIONAL FEES

._TR UARTERLY FEES
COURT COSTS
TOTAL DISBURSEMENTS

$
$
$
$
$
$
$
$

Almamis

NET CASH FLOW
LESS DISB 1,735.00

CASH — END OF MONTH 16,619.17
* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE

THE FOLLOWING SECTION MUST BE COMPLETED
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

 

TOTAL DISBURSEMENTS

 

LESS: TRANSFERS TO OTHER DEBTOR IN
POSSESSION ACCOUNTS $ -

 

PLUS: ESTATE DISBURSEMENTS MADE BY
OUTSIDE SOURCES (i.e. from escrow accounts)

 

 

TOTAL DISBURSEMENTS FOR CALCULATING USS.
TRUSTEE QUARTERLY FEES g 265.00

 

 

 

ALAS ACOs sas

Alcina

14,884.17

000.00

1,735.00

16,619.17

 

FORM MOR-1
2/2008
PAGE 1 OF 10

 
 

1re

Case 1-1/-40015-NNl

NY Canteen Taxi Corp

Debtor

Case No.

17-46644

Reporting Period: 2/1/2020-2/29/2020

BANK RECONCILIATIONS

Continuation Sheet for MOR-1

A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.

(Bank account numbers may be redacted to last four numbers.)

 

Operating
#2170

Payroll
#-NA

# -NA

Other

 

BALANCE PER
BOOKS

BANK BALANCE

$

16,619.17

 

(+) DEPOSITS IN
TRANSIT (ATTACH
LIST)

 

(-) OUTSTANDING
CHECKS (ATTACH
LIST):

 

OTHER (ATTACH
EXPLANATION

  

ADJUSTED BANK

EEE eae Nn

 

BALANCE *

 

$

16,619.17

 

ESAT Son NSAP TET Soe

 

 

 

 

 

 

*"Adjusted Bank Balance” must equal "Balance per Books"

 

OTHER

 

 

 

 

Doc 1/s-L Fed Vofly/cO Entered Os/Ly/2zU0 Lolo fico

FORM MOR-1 (CONT)
2/2008
PAGE 2 OF 10
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Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

NY Canteen Taxi Corp

 

Debtor

Case No.

Reporting Period:

STATEMENT OF OPERATIONS (Income Statement)

The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue

when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

REVENUES

Gross Revenues
Less: Returns and Allowances
Net Revenue

Add: Purchases

Add: Cost of Labor

Add: Other Costs (attach schedule
Less:

Cost of Goods Sold

Gross Profit

Auto and Truck
Bad Debts
Contributions
Benefits
Officer/Insider
Insurance
Fees/Bonuses
Office
Pension & Profit Plans
and Maintenance
Rent and Lease

Salaries/Commissions/Fees

Taxes - P ll

Taxes - Real Estate

Taxes - Other

Travel and Entertainment

Utilities

Other (attach schedule

Total Before
n/Amortization

Net Profit Before Other Income &

Other Income (attach schedule
Interest

Other attach schedule
Net Profit Before

MONTH

000.00

000.00

265.00
NA
1,735.00

1,735.00

 

17-46644

2/1/2020-2/29/2020

CUMULATIVE -FILING

$ 50,600.00
$ -
$ 50,600.00

3,150.00

1,620.00
1,600.00

6,422.40

44,177.60

30,350.00
13,827.60

FORM MOR-2
2/2008
PAGE 3 OF 10

 
 

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Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

NY Canteen Taxi Corp Case No. 17-46644
Debtor Reporting Period: — 2/1/2020-2/29/2020

Professional Fees
U.S. Trustee Fees .00
Interest Earned on Accumulated Cash from Chapter 11 (see continuation

Gain from Sale of $ -
Other n attach schedule - 208.44
Total Reo - 3,308.44
Income Taxes - -
Net Profit 1,735.00 [$ 10,519.16
*"Insider" is defined in 11 U.S.C. Section 1011).

BREAKDOWN OF “OTHER” CATEGORY

OTHER COSTS
NONE

 

OTHER OPERATIONAL EXPENSES

 

OTHER INCOME

 

NONE

 

 

 

OTHER EXPENSES

 

Payment to Secured Creditor $ - 1S 30,350.00

 

 

 

 

 

 

 

OTHER REORGANIZATION EXPENSES
Checks - New DIP Accounts
Professional Fees - Mediator Fee

 

Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
bankruptcy proceeding, should be reported as a reorganization item.

FORM MOR-2
2/2008
PAGE 4 OF 10
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Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

 

 

 

 

NY Canteen Taxi Corp Case No. 17-46644
Debtor Reporting Period: 2/1/202.0-2/29/2020
BALANCE SHEET

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

Unrestricted Cash and 16,619.17 14,884.17 6,100.01
Restricted Cash and Cash Equivalents (see continuation -
$ -

Accounts Receivable 200.00 200.00 3,000.00
Notes Receivable 923,025.00 923,025.00 923,025.00
Inventories NA

NA
Professional Retainers -
Other Current Assets (attach schedule . 750,000.00 750,000.00
TOTAL CURRENT ASSETS I 109.17 1 125.01

Real and
and
Fixtures and Office
Leasehold
Vehicles
Less: Accumulated
TOTAL PROPERTY & EQUIPMENT

Amounts due from Insiders* - -
Other Assets (attach schedule’ - -
TOTAL OTHER ASSETS - -
TOTAL ASSETS 1 17 1,688,109.17 1 125.01
LIABILITIES AND VALUE AT END OF | BOOK VALUE. VALUE

CURRENT REPORTING PRIOR REPORTING PETITION DATE
MONTH MONTH

Accounts

Taxes refer to FORM MOR-4

W:

Notes

Rent / Leases -

Secured Debt / Protection
Professional Fees

Amounts Due to Insiders*

Other ion Liabilities (attach schedule
TOTAL POST-PETITION LIABILITIES

Secured Debt 1,210,000.00 1,210,000.00 1,210,000.00
Debt

Unsecured Debt

TOTAL PRE-PETITION LIABILITIES 1,210,000.00 1,210,000.00 1,210,000.00

TOTAL LIABILITIES 1,210,000.00 1,210,000.00 1,210,000.00

Stock
Additional! Paid-In
Partners’ Account
Owner's Account
Retained - Pre-Petition
Retained ings -

to Owner ity (attach schedule

Post. Contributions (attach schedule
NET OWNERS’ EQUITY
TOTAL LIABILITIES AND OWNERS' EQUITY . 1,688,109.17 | $
*"Insider" is defined in 11 U.S.C. Section 101(31),

FORM MOR-3
2/2008
PAGE 5 OF 10

 
 

 

 

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Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

NY Canteen Taxi Corp Case No. 17-46644

 

BALANCE SHEET - continuation section
Fearne a

   
 

Ey

 

Debtor Reporting Period: 2/1/2020-2/29/2020

ce
Other Current Assets
NYC ~ 2Y37 & 2¥38 750,000.00 750,000.00 750,000.00

 

Other Assets

 

NA

 

 

 

 

 

 

NA

 

Adjustments to Owner’s Equity

 

NA

 

 

 

Post-Petition Contributions

 

NA

 

 

 

 

 

 

Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
Typically, restricted cash is segregated into a separate account, such as an escrow account.

 

FORM MOR-3
2/2008
PAGE 6 OF 10
1re

Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

NY Canteen Taxi Corp Case No. 17-46644
Debtor Reporting Period: —2/1/2020-2/29/2020

STATUS OF POST-PETITION TAXES

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
amount should be zero.

Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax returns filed during the reporting period.

Withholdi NA
FICA- NA
FICA- lo NA
U; NA
Income NA
Other: NA

Total Federal Taxes NA

Withhol NA
Sales NA
Excise NA
U lo NA
Real NA
Personal Pro NA
Other: NA

Total State and Local NA

Total Taxes NA

 

SUMMARY OF UNPAID POST-PETITION DEBTS

Attach aged listing of accounts payable.
Number of Days Past Due

Current 31-60 61-90 Over 91
Accounts
WwW le
Taxes le
Rent/Leases-Buildi
Rent/Leases-

Secured Debt/Adequate
ion P

Professional Fees
Amounts Due to Insiders
Other:

Other:

Total Post: n Debts

 

Explain how and when the Debtor intends to pay any past due post-petition debts.

 

 

FORM MOR-4
2/2008
PAGE 7 OF 10

 
Doc 1/s-L Fed Vofly/cO Entered Os/Ly/2zU0 Lolo fico

Case 1-1/-40015-NNl

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Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

 

NY Canteen Taxi Corp Case No. 17-46644
Debtor Reporting Period: —2/1/2020-2/29/2020

 

PAYMENTS TO INSIDERS AND PROFESSIONALS

Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
(e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.

R PA 18 800.00 800.00 800.00
Fred Roth CPA 2/11/2019 $ 800.00 | $ 800.00 | $ 800.00

$ 1,600.00 | $ 1,600.00 1,600.00
* INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED

POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
AND ADEQUATE PROTECTION PAYMENTS

 

FORM MOR-6
2/2008
PAGE 9 OF 10

 
 

Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re NY Canteen Taxi Corp

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17

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Debtor

Case No.
Reporting Period:

DEBTOR QUESTIONNAIRE

17-46644

2/1/2020-2/29/2020

 

Must be completed each month. If the answer to any of the
questions is “Yes”, provide a detailed explanation of each item.
Attach additional sheets if necessary.

Yes

No

 

Have any assets been sold or transferred outside the normal course of
business this reporting period?

 

Have any funds been disbursed from any account other than a debtor in
possession account this reporting period?

 

Is the Debtor delinquent in the timely filing of any post-petition tax
returns?

 

Are workers compensation, general liability or other necessary
insurance coverages expired or cancelled, or has the debtor received
notice of expiration or cancellation of such policies?

 

Is the Debtor delinquent in paying any insurance premium payment?

 

Have any payments been made on pre-petition liabilities this reporting
period?

*

 

Are any post petition receivables (accounts, notes or loans) due from
related parties?

 

Are any post petition payroll taxes past due?

 

Are any post petition State or Federal income taxes past due?

 

Are any post petition real estate taxes past due?

 

Are any other post petition taxes past due?

 

Have any pre-petition taxes been paid during this reporting period?

 

Are any amounts owed to post petition creditors delinquent?

 

Are any wage payments past due?

 

Have any post petition loans been been received by the Debtor from
any party?

 

Is the Debtor delinquent in paying any U.S. Trustee fees?

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Is the Debtor delinquent with any court ordered payments to attorneys
or other professionals?

~*~

 

Have the owners or shareholders received any compensation outside of

 

the normal course of business?

 

 

*

 

 

FORM MOR-7
2/2008
PAGE 10 OF 10
Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re NY Energy Taxi Corp Case No. 17-46645
Debtor Reporting Period: 2/1/2020-2/29/2020

 

 

SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
attached for each account. [See MOR-1 (CON’T)]

BANK ACCOUNTS

CASH BEGINNING OF MONTH

CASH SALES
CCOUNTS RECEIVABLE -
REPETITION
CCOUNTS RECEIVABLE -
ON
ANS AND ADVANCES
SALE OF ASSETS
OTHER (ATTACH
SFERS MM DIP A
TOTAL RECEIPTS

PAYROLL
AYROLL TAXES
USE, & OTHER TAXES
RY PURCHASES
SECURED/ RENTAL/ LEASES
SURANCE
MINISTRATIVE
SELLING
OTHER (ATTACH
OWNER DRAW *
SFERS DIP A
ROFESSIONAL FEES
.S. TRUSTEE QUARTERLY FEES
COURT COSTS
AL DISBURSEMENTS

CASH FLOW
LESS DISBURSEMENTS

CASH — END OF MONTH $ 195.40
* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE

 

THE FOLLOWING SECTION MUST BE COMPLETED
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)
TOTAL DISBURSEMENTS
LESS: TRANSFERS TO OTHER DEBTOR IN
POSSESSION ACCOUNTS $ -
PLUS: ESTATE DISBURSEMENTS MADE BY
OUTSIDE SOURCES (i.e. from escrow accounts) $ -
TOTAL DISBURSEMENTS FOR CALCULATING USS,
TRUSTEE QUARTERLY FEES g

 

 

 

 

 

 

 

 

FORM MOR-1
2/2008
PAGE 1 OF 10

 
 

Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

 

 

In re NY Energy Taxi Corp Case No. 17-46645
Debtor Reporting Period: 2/1/2020-2/29/2020
BANK RECONCILIATIONS

Continuation Sheet for MOR-1
A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.

(Bank account numbers may be redacted to last four numbers.)

 

Operating Payroll Tax Other
#2261 # -NA # -NA #-NA

 

BALANCE PER

BOOKS |
BANK BALANCE $ 195.40

(+) DEPOSITS IN $ -
TRANSIT (ATTACH
LIST)

(-) OUTSTANDING
CHECKS (ATTACH
LIST) : $ -
OTHER (ATTACH $ -

 

 

 

 
 
 

eee B
ADJUSTED BANK
BALANCE * $ 195.40

 

 

 

 

 

 

 

 

*"Adjusted Bank Balance" must equal "Balance per Books"

 

OTHER

 

 

 

 

 

FORM MOR-1 (CONT.)
2/2008
PAGE 2 OF 10
Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

 

NY Energy Taxi Corp Case No. 17-46645
Debtor Reporting Period: 2/1/2020-2/29/2020

STATEMENT OF OPERATIONS (Income Statement)
The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

REVENUES MONTH CUMULATIVE -FILING

Revenues - 1$ 33,500.00

: Returns and Allowances

Revenue 33 .00

: Purchases
: Cost of Labor
: Other Costs (attach
In
of Goods Sold
Profit

and Truck
Debts
ns
loyee Benefits

Fees/Bonuses
3,150.00
ension & Profit Plans
and Maintenance
and Lease 1,620.00
1,600.00
lies
axes - P Ll
axes - Real Estate
axes ~ Other
ravel and Entertainment

‘attach
otal Before 7,182.60
letion/Amortization
Profit Before Other Income & 26,317.40

Income (attach 8.00

‘attach schedule 30,738.57
et Profit Before 4,413.]

 

FORM MOR-2
2/2008
PAGE 3 OF 10

 
 

Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

NY Energy Taxi Corp Case No. 17-46645
Debtor . Reporting Period: 2/1/2020-2/29/2020

 

fessional Fees
. 8. Trustee Fees
Earned on Accumulated Cash from Chapter 11 (see continuation

from Sale of
Other n ‘attach
otal Reo
Taxes
et Profit
*"Insider" is defined in 11 U.S.C. Section 101(31).

 

BREAKDOWN OF “OTHER” CATEGORY

OTHER COSTS
axes - Other - TLC -TIF Fees Unpaid by Previous Operator

 

OTHER OPERATIONAL EXPENSES
ONE

 

 

 

 

 

 

OTHER INCOME

Bank Service Charge Returned $ - 1$ 8.00
OTHER EXPENSES

Payment to Secured Creditor $ - 15 30,738.57

 

 

 

 

 

 

 

OTHER REORGANIZATION EXPENSES
- New DIP Account
fessional Fees - Mediator Fee

 

Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the

bankruptcy proceeding, should be reported as a reorganization item.

FORM MOR-2
2/2008
PAGE 4 OF 10
Case 1-1/-40015-NNl

In re NY Energy Taxi Corp

 

Debtor

Case No.
Reporting Period:

BALANCE SHEET

Doc 1/s-L Fed Vofly/cO Entered Os/Ly/2zU0 Lolo fico

17-46645

 

2/1/2020-2/29/2020

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

Cash and
Cash and Cash Equivalents (see continuation

Receivable
Receivable

Retainers
Current Assets (attach
TOTAL CURRENT ASSETS

and
and
Fixtures and Office

ehicles
; Accumulated
TOTAL PROPERTY & EQUIPMENT

due from Insiders*
Assets (attach
TOTAL OTHER ASSETS
TOTAL ASSETS

LIABILITIES AND OWNER

to FORM MOR-4

/ Leases -
Secured Debt / Protection
Fees
Due to Insiders*
Liabilities (attach
TOTAL POST-PETITION LIABILITIES

Debt
Debt
Debt
TOTAL PRE-PETITION LIABILITIES
TOTAL LIABILITIES

Stock
Paid-In
Account
Account
- Pre-Petition

to Owner ‘attach

Contributions (attach
OWNERS’ EQUITY
‘AL LIABILITIES AND OWNERS'

*"Insider" is defined in 11 U.S.C. Section 101(31).

0
750,000.00
1,818,597.40

1,818,597.40

VALUE AT END
CURRENT REPORTING
MONTH

DICFOJOJOLOCfojojo|c

1,210,000.00

1,210,000.00
1,210,000.00

 

1,818,597.40 | $

0
750,000.00 750,000.00
1,818,597.40 I 01

0

0

1,818,597.40 | $ 1,825,994.01
AT END OF VALUE ON

PRIOR REPORTING DATE
MONTH

1,210,000.00 1,210,000.00

1,210,000.00
1,210,000.00

1,210,000.00
1,210,000.00

1,818,597.40

FORM MOR-3
2/2008
PAGE 5 OF 10

 
 

 

Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re NY Energy Taxi Corp Case No. 17-46645

 

 

Debtor Reporting Period: 2/1/2020-2/29/2020

 

BALANCE SHEET - continuation section
An a Kee

  
 

 

if

 

Other Current Assets
NYC Medallions 2¥39 & 243 750,000.00 | $ 750,000.00 | $ 750,000.00

 

Other Assets
NA

 

 

 

 

 

 

 

Liabilities
NA

 

Adjustments to Owner’s Equity

 

NA

 

 

 

Post-Petition Contributions
NA

 

 

 

 

 

 

 

Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
Typically, restricted cash is segregated into a separate account, such as an escrow account.

FORM MOR-3

2/2008

PAGE 6 OF 10
Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re NY Energy Taxi Corp Case No. 17-46645

 

Debtor Reporting Period: 2/1/2020-2/29/2020

STATUS OF POST-PETITION TAXES

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
amount should be zero.

Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax returns filed during the reporting period.

Other:
Total Federal Taxes

Sales

Pro
ersonal
Other:
Total State and Local

otal Taxes

 

SUMMARY OF UNPAID POST-PETITION DEBTS

Attach aged listing of accounts payable.
Number of Days Past Due

Current 31-60 61-90 Over 91
P
es P le
axes P le
t/Leases-B

Secured Debt/Adequate
P
fessional Fees
unts Due to Insi

Other:
otal Post n Debts

 

Explain how and when the Debtor intends to pay any past due post-petition debts.

 

 

FORM MOR-4
2/2008
PAGE 7 OF 10

 
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Case 1-1/-40015-NNl

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Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re NY Energy Taxi Corp Case No. 17-46645

Debtor Reporting Period: 2/1/2020-2/29/2020

 

PAYMENTS TO INSIDERS AND PROFESSIONALS

Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
(e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.

Fred R PA _- 18 800.00 800.00
Fred Roth CPA 2/11/2019 800.00 | $ 800.00

1,600.00 1,600.00 1,600.00
* INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED

 

POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
AND ADEQUATE PROTECTION PAYMENTS

 

FORM MOR-6
2/2008
PAGE 9 OF 10

 
 

Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re NY Energy Taxi Corp

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Debtor

Case No. 17-46645
Reporting Period: 2/1/2020-2/29/2020

DEBTOR QUESTIONNAIRE

 

Must be completed each month. If the answer to any of the
questions is “Yes”, provide a detailed explanation of each item.
Attach additional sheets if necessary.

Yes

 

' Have any assets been sold or transferred outside the normal course of

business this reporting period?

 

Have any funds been disbursed from any account other than a debtor in
possession account this reporting period?

 

Js the Debtor delinquent in the timely filing of any post-petition tax
returns?

 

Are workers compensation, general lability or other necessary
insurance coverages expired or cancelled, or has the debtor received
notice of expiration or cancellation of such policies?

 

Is the Debtor delinquent in paying any insurance premium payment?

 

Have any payments been made on pre-petition liabilities this reporting
period?

ms

 

Are any post petition receivables (accounts, notes or loans) due from
related parties?

 

Are any post petition payroll taxes past due?

 

Are any post petition State or Federal income taxes past due?

 

Are any post petition real estate taxes past due?

 

Are any other post petition taxes past due?

Sep XPS XT be

 

Have any pre-petition taxes been paid during this reporting period?

 

Are any amounts owed to post petition creditors delinquent?

 

Are any wage payments past due?

 

Have any post petition loans been been received by the Debtor from any

party?

 

Is the Debtor delinquent in paying any U.S. Trustee fees?

EP] P< Os

 

Is the Debtor delinquent with any court ordered payments to attorneys or
other professionals?

~

 

Have the owners or shareholders received any compensation outside of
the normal course of business?

 

 

 

 

 

FORM MOR-7
2/2008
PAGE 10 OF 10
Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re NY Genesis Taxi Corp Case No. 17-46617
Debtor Reporting Period: 2/1/2020-2/29/2020

 

 

 

SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
attached for each account. [See MOR-! (CON’T)]

BANK ACCOUNTS

BEGINNING OF MONTH 25,069.55 25,069.55

CASH SALES 400.00 400.00
CCOUNTS RECEIVABLE -
REPETITION
CCOUNTS RECEIVABLE -
ETITION
ANS AND ADVANCES
SALE OF ASSETS
OTHER (ATTACH
SFERS DIP A
TOTAL RECEIPTS

PAYROLL
AYROLL TAXES
SALES, USE, & OTHER TAXES
ORY PURCHASES
SECURED/ RENTAL/ LEASES
SURANCE
MINISTRATIVE
SELLING
OTHER (ATTACH
OWNER DRAW *
DIP A
ROFESSIONAL FEES
.S. TRUSTEE QUARTERLY FEES
COURT COSTS
TAL DISBURSEMENTS

wf
vy

PLS also si riris
ALAS Solas rol rl cololarlrs

CASH FLOW
LESS DISB

 

CASH — END OF MONTH $ 55
* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE

THE FOLLOWING SECTION MUST BE COMPLETED
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)
TOTAL DISBURSEMENTS
LESS: TRANSFERS TO OTHER DEBTOR IN
POSSESSION ACCOUNTS $ -
PLUS: ESTATE DISBURSEMENTS MADE BY
OUTSIDE SOURCES (i.e. from escrow accounts) $ -
TOTAL DISBURSEMENTS FOR CALCULATING USS.
TRUSTEE QUARTERLY FEES $ 265.00

 

 

 

 

 

 

 

 

FORM MOR-1
2/2008
PAGE 14 OF 10

 
 

Case 1-1/-40015-NNl

In re NY Genesis Taxi Corp

Debtor

Continuation Sheet for MOR-1

Reporting Period: 2/1/2020-2/29/2020

Case No. 17-46617

 

 

BANK RECONCILIATIONS

A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.

(Bank account numbers may be redacted to last four numbers.)

 

Operating
#2310

# -NA

Payroll

# -~NA

Other

 

BALANCE PER
BOOKS

BANK BALANCE

$

27,204.55

 

(+) DEPOSITS IN
TRANSIT (ATTACH
LIST)

 

(-) OUTSTANDING
CHECKS (ATTACH
LIST) :

 

OTHER (ATTACH

BALANCE *

 

ADJU: TED BANK ~

 

$

27,204.55

 

 

 

 

 

 

*" Adjusted Bank Balance" must equal "Balance per Books"

Doc 1/s-L Fed Vofly/cO Entered Os/Ly/2zU0 Lolo fico

 

OTHER

 

 

 

 

 

FORM MOR-1 (CONT.)
2/2008
PAGE 2 OF 10
Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re NY Genesis Taxi Corp Case No. 17-46617
Debtor Reporting Period: 2/1/2020-2/29/2020

STATEMENT OF OPERATIONS (Income Statement)
The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

REVENUES MONTH CUMULATIVE -FILING

Revenues 400.00 | $ 400.00
: Returns and Allowances - [$ -

et Revenue 400.00 | $ 62,400.00

: Purchases
of Labor
: Other Costs (attach schedule

of Goods Sold
Profit

and Truck
Debts

Benefits

Fees/Bonuses
3,675.00
& Profit Plans
and Maintenance
and Lease 1,890.00
Salaries/Commissions/Fees 1,600.00
lies
axes - P Il
axes - Real Estate
axes - Other
ravel and Entertainment

attach schedule
otal Before i 7,215.00
letion/Amortization
Profit Before Other Income & 55,185.00

Income (attach

‘attach schedule
Profit Before

 

FORM MOR-2
2/2008
PAGE 3 OF 10

 
 

Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re NY Genesis Taxi Corp Case No. 17-46617
Debtor Reporting Period: 2/1/2020-2/29/2020

 

fessional Fees
. 8. Trustee Fees

Earned on Accumulated Cash from Chapter 11 (see continuation

from Sale of
‘attach schedule 208.44
otal Reo 3,533.89
Taxes
et Profit 24,704.55
*"Insider" is defined in 11 U.S.C. Section 101(31).

 

BREAKDOWN OF “OTHER” CATEGORY

OTHER COSTS
ONE

 

OTHER OPERATIONAL EXPENSES
ONE

 

OTHER INCOME
INONE

 

 

 

 

OTHER EXPENSES
Payment to Secured Creditor $ - 13 26,946.56

 

 

 

 

 

 

 

 

OTHER REORGANIZATION EXPENSES
- New DIP Account
fessional Fees - Mediator Fee

 

Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:

Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
bankruptcy proceeding, should be reported as a reorganization item.

FORM MOR-2
2/2008
PAGE 4 OF 10
Case 1-1/-40015-NAl Doc lfo-L Filed Os/iy/z0 Entered Vs/lyiz0 Lolo fics

 

 

 

In re NY Genesis Taxi Corp . Case No. 17-46617
Debtor Reporting Period: 2/1/2020-2/29/2020
BALANCE SHEET

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

nrestricted Cash and
Cash and Cash Equivalents (see continuation

25,069.55

Receivable
Receivable

Retainers
Current Assets (attach
TOTAL CURRENT ASSETS

and
and
Fixtures and Office

ehicles
Accumulated
TOTAL PROPERTY & EQUIPMENT

due from Insiders*
Assets (attach
TOTAL OTHER ASSETS
TOTAL ASSETS

to FORM MOR-4

/ Leases -
Debt / Protection
Fees
Due to Insiders*
Liabilities (attach schedule
TOTAL POST-PETITION LIABILITIES

Secured Debt
Debt
Debt
TOTAL PRE-PETITION LIABILITIES
TOTAL LIABILITIES

Stock
Paid-In
Account
Account
- Pre-Petition

to Owner ‘attach

Contributions (attach
OWNERS’ EQUITY
‘AL LIABILITIES AND OWNERS'

*"Insider" is defined in 11 U.S.C. Section 101(31).

1,077,959.00

0
750,000.00
1,855,163.55

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“ALUE AT END

CURRENT REPORTING
MONTH

1,210,000.00

1,855,163.55

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730,000.00
1,853,028.55

1,853,028.55

Ve END
PRIOR REPORTING
MONTH

1,210,000.00

1,210,000.00
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1,853,028.55

 

1,077,959.00

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1,830,459.00

“ALUE ON
DATE

1,210,000.00

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FORM MOR-3
272008
PAGE 5 OF 10

 
 

Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re NY Genesis Taxi Corp Case No. 17-46617
Debtor Reporting Period: 2/1/2020-2/29/2020

 

Other Current Assets
NYC 2¥44 & 245 750,000. 750,000.00 750,000.00

 

Other Assets
NA

 

 

 

 

 

 

 

NA

 

Adjustments to Owner’s Equity

 

NA

 

 

 

Post-Petition Contributions
NA

 

 

 

 

 

 

 

Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
Typically, restricted cash is segregated into a separate account, such as an escrow account.

FORM MOR-3
2/2008
PAGE 6 OF 10
Case 1l-1/-40015-NAl Doc l/fo-L Filed Os/iy/z0 Entered Vs/lyiz0 Lolo fics

In re NY Genesis Taxi Corp Case No. 17-46617
Debtor Reporting Period: 2/1/2020-2/29/2020

 

STATUS OF POST-PETITION TAXES

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
amount should be zero.

Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax returns filed during the reporting period.

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CA-
CA-

lo
me
Other:
Total Federal Taxes

Withho
Sales

lo
Pro
ersonal

Total State and Local

otal Taxes

 

SUMMARY OF UNPAID POST-PETITION DEBTS

Attach aged listing of accounts payable.
Number of Days Past Due

Current 31-60 61-90 Over 91
ccounts
es le
axes P le
Buildi

Secured Debt/Adequate
P
fessional Fees
unts Due to Insiders

otal Post. n Debts

 

Explain how and when the Debtor intends to pay any past due post-petition debts.

 

FORM MOR-4
2/2008
PAGE 7 OF 10

 
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Case 1-1/-40015-NNl

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Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

In re NY Genesis Taxi Corp Case No. 17-46617
Debtor Reporting Period: 2/1/2020-2/29/2020

 

 

PAYMENTS TO INSIDERS AND PROFESSIONALS

Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
(e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.

F PA 6/8/2018 . 800.00 -__ 800.00
Fred Roth CPA 2/11/2019 800.00 | $ 800.00

1,600.00 1,600.00 | $ 1,600.00
* INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED

 

POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
AND ADEQUATE PROTECTION PAYMENTS

 

FORM MOR-6

2/2008

PAGE 9 OF 10

 
 

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Case 1l-1/-40015-NAl Doc lfo-L Filed Os/iyv/z0 Entered Vs/lyiz0 Lolo fics

NY Genesis Taxi Corp

 

Debtor

Case No. 17-46617
Reporting Period: 2/1/2020-2/29/2020

DEBTOR QUESTIONNAIRE

 

Must be completed each month. If the answer to any of the
questions is “Yes”, provide a detailed explanation of each item.
Attach additional sheets if necessary.

Yes

 

\ Have any assets been sold or transferred outside the normal course of

business this reporting period?

 

Have any funds been disbursed from any account other than a debtor in
possession account this reporting period?

 

Is the Debtor delinquent in the timely filing of any post-petition tax
returns?

 

Are workers compensation, general liability or other necessary
insurance coverages expired or cancelled, or has the debtor received
notice of expiration or cancellation of such policies?

 

Is the Debtor delinquent in paying any insurance premium payment?

 

Have any payments been made on pre-petition liabilities this reporting
period?

as

 

Are any post petition receivables (accounts, notes or loans) due from
related parties?

 

Are any post petition payroll taxes past due?

 

Are any post petition State or Federal income taxes past due?

 

Are any post petition real estate taxes past due?

 

Are any other post petition taxes past due?

 

Have any pre-petition taxes been paid during this reporting period?

 

Are any amounts owed to post petition creditors delinquent?

 

Are any wage payments past due?

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Have any post petition loans been been received by the Debtor from any

party?

Pay P<

 

Is the Debtor delinquent in paying any U.S. Trustee fees?

 

Is the Debtor delinquent with any court ordered payments to attorneys or
other professionals?

*

 

Have the owners or shareholders received any compensation outside of

 

 

the normal course of business?

 

 

 

FORM MOR-7
2/2008
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